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                                        #:5030


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16
                              UNITED STATES DISTRICT COURT
17
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
     UNITED STATES OF AMERICA,                No. 5:23-CR-00021-JGB
19
               Plaintiff,                     (PROPOSED) ORDER SETTING BRIEFING
20                                            AND HEARING SCHEDULE ON
                     v.                       DEFENDANT’S MOTION TO DISMISS AND
21                                            MOTION TO SUPPRESS
     JASON EDWARD THOMAS CARDIFF,
22
               Defendant.
23

24

25        FOR GOOD CAUSE SHOWN: The Plaintiff’s responses to Defendant’s
26   Motion to Dismiss and Motion to Suppress shall be filed by September
27   23, 2024, Defendant’s replies shall be filed by October 7, 2024, and
28
     Case 5:23-cr-00021-JGB    Document 108-1 Filed 09/10/24   Page 2 of 2 Page ID
                                         #:5031


1    hearing on the motions shall be scheduled for October 21, 2024, at

2    2:00 PM.

3

4           IT IS SO ORDERED

5

6    DATE                                     HONORABLE JESUS G. BERNAL
                                              UNITED STATES DISTRICT JUDGE
7

8
     Presented by:
9
          /s/
10   MANU J. SEBASTIAN
     SHEILA BERMAN
11   Trial Attorneys
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12   Consumer Protection Branch
13   VALERIE MAKAREWICZ
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